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                      IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                                         CIVIL MOTIONS HEARING
                                                 )                     COURT MINUTES
Re: CenturyLink Sales Practices and              )                 BEFORE: Judge Michael J. Davis
Securities Litigation                            )                      U.S. District Judge
                                                 )
and                                              )     Case Nos:       17-md-2795 MJD/KMM
                                                 )                     18-cv-296 MJD/KMM
Benjamin Craig, et al,                           )     Date:           June 7, 2019
                                                 )     Courthouse:     Minneapolis
                            Plaintiff,           )     Courtroom:      13E
v                                                )     Court Reporter: Lori Simpson
                                                 )     Time Commenced: 8:03 a.m.
CenturyLink, Inc., et al,                        )     Time Concluded: 9:53 a.m.
                                                 )     Time in Court:  1 hour and 50 minutes
                            Defendants.          )


Hearing on:
       (17md2795) - MOTION to Dismiss [276]
       (18cv296) - MOTION to Dismiss [154]
Status Update on:
       (17md2795) - MOTIONS to Intervene for the Limited Purposes of Moving to Compel Arbitration
                    and Enforce Class-Action Waivers and to Join in Defendant CenturyLink, Inc.'s
                    Motion for Temporary Stay of Discovery [80]
                    MOTION to Compel Arbitration and Enforce Class-Action Waivers [122[
                    MOTION to Dismiss [132]

APPEARANCES:
For Plaintiffs (Securities):
       Michael D. Blatchley               Bernstein Litowitz Berger & Grossmann LLP
       Michael M Mathai                   Bernstein Litowitz Berger & Grossmann LLP
       Gregg Martin Fishbein              Lockridge Grindal Nauen PLLP
       Keith Scott Dubanevich             Stoll Stoll Berne Lokting & Shlachter PC
       Keil M Mueller                     Stoll Stoll Berne Lokting & Shlachter PC

For Plaintiffs (Consumer Fraud):
       Ling S. Wang                        Gustafson Gluek PLLC
       Ann T. Regan                        Hellmuth & Johnson
       Brian C Gudmundson                  Zimmerman Reed, PLLP
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For Defendants:
      Douglas P Lobel                  Cooley LLP
      Patrick E. Gibbs                 Cooley LLP
      Sarah M. Lightdale               Cooley LLP
      Georgina Inglis                  Cooley LLP
      William A McNab                  Winthrop & Weinstine, PA


PROCEEDINGS:
A status update was given regarding the tentative settlement of the consumer fraud portion of the case. A
request to stay that portion of the case until mid-August so that negotiations can be concluded, was requested.
The Court ordered that an update, signed by both partes, shall be electronically submitted every 30-45 days.
Order to follow.

The motions were moved, argued and taken under advisement. Order to follow.

Date: June 7, 2019                                           s/Gerri Rishel
                                                            Courtroom Deputy to Judge Michael J. Davis
